  Case: 1:17-cv-02393 Document #: 357 Filed: 09/09/20 Page 1 of 3 PageID #:11732




                    UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION

   JOHN NAWARA,                                   )
                                                  )
           Nawara,                                )
   v.                                             )         Case No. 17-cv-2393
                                                  )
   COUNTY OF COOK, a unit of local Government, )            Hon. Rebecca R. Pallmeyer
   THOMAS DART, in his official capacity as       )
   Sheriff of Cook County, Illinois, KAREN JONES- )
   HAYES, MATTHEW BURKE, REBECCA                  )
   REIERSON, and WINIFRED SHELBY, in their        )
   individual capacities,                         )
                                                  )
           Defendants.                            )

    DEFENDANT’S MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF ITS
           MOTION TO CITE KURTZHALS V. COUNTY OF DUNN

       Defendant Thomas Dart (“CCSO”) hereby requests leave to file a Reply in Support of Its

Motion to Cite Kurtzhals v. County of Dunn, attached as Exhibit A. In support of this Motion, the

CCSO states as follows:

       1.     On August 17, 2020, the CCSO filed a Motion for Leave to File Supplemental

Authority in Support of Its Motion For Judgement as a Matter of Law Pursuant to Rule 50(b) and

Its Response Opposing Plaintiff’s Motion for Back Pay. (Dkt. 353).

       2.     The Court granted the CCSO’s motion, and ordered that Plaintiff could file a

response by September 3, 2020. (Dkt. 354).

       3.     On August 26, 2020, Plaintiff filed his Response Addressing Kurtzhals v. County

of Dunn. (Dkt. 356).

       4.     Plaintiff’s Response purports to list alleged differences between Kurtzals and this

case, but without citations either to the Kurtzhals opinion or to the record and which misstates

both. The Response also includes a brand-new argument about objective and subjective evidence



                                               1
  Case: 1:17-cv-02393 Document #: 357 Filed: 09/09/20 Page 2 of 3 PageID #:11733




based on a contract interpretation case, which has no bearing here at all. And Plaintiff all but

ignores the point that Kurtzhals treats ADA discrimination and FFD claims separately and instead

proffers other case law and a law review article to raise a new argument – that denying Nawara a

back pay award would be “absurd” even though that is the result required by statute.

       5.      To ensure that the record is accurate before the Court and to address the new

arguments raised in the Response that have nothing to do with Kurtzhals, the CCSO asks this Court

for leave to file the attached Reply In Support of Its Motion to Cite Kurtzals v. County of Dunn.

       6.      This Motion will not prejudice Plaintiff as it replies to the new and unsupported

arguments made in Plaintiff's response.



                                      Respectfully submitted,

                                      /s/ Sarah R. Marmor
                                      Sarah R. Marmor
                                      Suzanne M. Alexander
                                      Morgan G. Churma
                                      SCHARF BANKS MARMOR LLC
                                      333 West Wacker Drive, Suite 450
                                      Chicago, IL 60606
                                      Ph. 312-726-6000
                                      smarmor@scharfbanks.com
                                      salexander@scharfbanks.com
                                      mchurma@scharfbanks.com

                                      Counsel for THOMAS DART, in his official capacity as
                                      Sheriff of Cook County, Illinois.




                                                2
  Case: 1:17-cv-02393 Document #: 357 Filed: 09/09/20 Page 3 of 3 PageID #:11734




                                CERTIFICATE OF SERVICE

       I certify that on September 9, 2020, I caused the foregoing DEFENDANT’S MOTION

FOR LEAVE TO FILE REPLY IN SUPPORT OF ITS MOTION TO CITE KURTZHALS V.

COUNTY OF DUNN to be filed using the Court’s CM/ECF system, which will send e-mail

notification of the filing to all counsel of record. These documents are available for viewing and

downloading via the CM/ECF system.

                                             /s/ Sarah R. Marmor




                                                3
